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                                                       UNITED STATES DISTRICT COURT
                                                      MIDDLE DISTRICT OF PENNSYLVANIA

                              Mary M. Black,
                                                          Plaintifi                Civil Action No.:
                                                                                   COMPLAINT FOR DAMAGES
                                                vs.                                UNDER THE FEDERAL TORT
                                                                                   CLAIMS ACT
                              United States of America,
                                                          Defendant

                                                                      COMPLAINT

                                     Now comes Mary M. Black, and for cause of action against Defendant,
                              united states of America'                                       and berier:
                                                          T1tffi;:Ti1,"JJffi'Jation
                                                                           1.

                                     This action is brought pursuant to the Federal Tort Claims Act (FTCA), 28
                              USC SS1346(b),2671 el seq., against the United States of America, which vests
                              inclusive subject matter jurisdiction of Federal Tort Claims Litigation in the Federal
                              District Court.
                                                                           2.

                                     Venue is proper in the Middle District of Pennsylvania pursuant to 28 USC

                              $S1391(b)(1) and/or 1391(b)(2),         as well as 28 USC S1391(e)(1), because the
                              United States is a Delendant and all acts and omissions forming the basis of these
                              claims occurred in the Middle District of Pennsylvania'


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                                                                       PARTIES
                                                                           3.

                                        Plaintitl, Mary M. Black, is an adult individual living and residing at 2219
                                  Blacks Glenn Court, Myersville, Maryland, 21773.
                                                                           4.

                                        At all relevant times, the Defendant, the United States of America, acted
                                  through its agency, The Department of Health and Human Services, which at all
                                  times relevant hereto, operated Keystone Rural Health Center, Vdlb/a Keystone
                                  Dental Care, 767 Fifth Avenue, Suite B-3A, Chambersburg, Franklin County,
                                  Pennsylvania, 17201 .


                                                    STATUTORJ BASIS OF LIABI LITYAGAINST
                                                          THE UAIITED STATES OF AMERICA
                                                                           5.

                                        This case is brought against the United States of America pursuant to 28
                                  USC 52671 et seq., commonly refened to as the "Federal Tort Claims Act". Liability
                                  of the United States if predicated specifically on 28 USC SS1346(bX1) and 2674
                                  because the personal inluries and resulting damage that form the basis of this
                                  Complaint, were proximately caused by the negligence, wrongf ul acts and/or
                                  omissions of employees of the United States of America through its agency, The
                                  Department of Health and Human Services. These employees were acting within
                                  the course and scope of their employment, under circumstances where the United
                                  States ol America, if a private person, would be liable to the Plaintiff in the same
                                  manner and to the same extent as       a private individual under the laws of the
                                  Commonwealth of Pennsylvania.
                                                                           6.

                                        Pursuant to 28 USC 52675, the claim of Mary M. Black, was timely presented
                                  to the appropriate agency ol Defendant, United States of America, namely          the

                                  United States Department of Health and Human Services on October 8' 201      5.   The
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                              claim was denied by the United States Department of Health and Human Services
                              on February 22,2017.


                                                             FACTUALALLEGAIION
                                                                          7.

                                       Defendant, United States     of   America, including   its directors,   officers,
                              operators, administrators, employees, agents, and staff at Keystone Bural Health
                              Center, Vdlb/a Keystone Dental Care, collectively referred to as "Keystone Dental
                              Care".
                                                                          8.

                                       At all times   relevant   to this Complaint, Keystone     Dental Care held
                              themselves out to the Plaintitf as a provider of high quality dental services, with the
                              expertise necessary to maintain the health and safety of patients like the Mary M.
                              Black.
                                                                          9.

                                       At all times relevant to the Complaint, Keystone Dental Care, the directors,
                              officers, operators, administrators, employees, agents, and staff of Keystone Rural
                              Health Center were employed by and/or acting on behalf of the Defendant.
                              Furthermore, the Defendant is responsible for the negligent acts of its employees
                              and agents under respondeat superior.
                                                                         10.

                                       On October 9, 2013, Plaintiff, Mary M. Black, underwent a root canal on tooth
                              number 7 with the root canal perlormed by Nivea Sharma, DDS, of Keystone Dental
                              Care.
                                                                         11.

                                       During the October     9, 2013 root canal, upon irrigation with sodium
                              hypochlorite (bleach), the bleach was iniected into adjacent tissues resulting in
                              immediate severe pain and facial swelling.
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                                                                     12.
                                  As a result of the inadvertent e)itrusion of bleach into the surrounding tissues,
                          Plaintitf sustained traumatic facial nerve injuries resulting in tissue necrosis, scar
                          tissue, parasthesia and permanent facial disfigurement.
                                                                     13.

                                  As a result ol the injuries sustained by Plaintiff as above set forth, she has
                          received medical attention and care rendered by the following medical providers on
                          the dates indicated, and has incuned liability for the payment of bills for that medical
                          attention and care in the sums indicated, which are reasonable and customary in
                          the community where the Plaintiff was treated:
                                Uedlcal   Provider                         Date€Olfreetment            Chatge
                          1.   Meritus Medical Center                      October 11,   2013     $1   ,562.18
                               11116 Medical Campus Road
                               Hagerstown, MD 21742

                          2.   Jamal Ali, M.D.                             October   23,2013        $310.00
                               1701 Howell Road
                               Hagerstown, MD 21740-6638

                          3.   Robinwood Pain   Center                     October 30,   2013       $285.00
                               11110 Medical Campus Road
                               Suite 225
                               Hagerstown, MD 21742

                          4. Total Rehab Care-Meritus Health               November   1,2013        $401 .02
                               11110 Medical Campus     Road               November 4,2013
                               Suite201                                    November 7,2013
                               Hagerstown, MD 21742

                          5.   Jon A. Pike,DDS                             December   10,2013          $80.50
                               1144 Opal  Court                            February  12,2014           $80'50
                               Hagerstown, MD 2174o

                          6.   Cumberland Valley ENT Consultants January             15,2014        $815.00
                               11110 Medical CamPus Road
                               Suite 126
       uworFrc€s               Hagerstown, MD 21742
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                                          Plovlder
                                      Itedlcal                                  qates ol  freatment       .Charge
                             7. Parkway Neuroscience &                          June27,2014              $437.00
                                  Spine lnstitute                               July lS, 2014            $298.00
                                 7 Western Maryland Parkway
                                  1                                             August 9, 2014
                                                                                       1                 $846.25
                                  Suite 100
                                  Hagerstown, MD 21740

                             8.   James S. Albertoli,   M.D.                    August 6,   2014         $225.00
                                  11110 Medical Campus Road
                                  Suite 150
                                  Hagerstown, MD 21742

                             9.   Craig R. Dufresne,    M.D.                    October    1,2014        $323.00
                                  8501 Arlington Blvd.
                                  Suite 420
                                  Fairfax, VA 22031


                                                                          14.
                                       By reason of the injuries to Plaintiff sustained as above set forth, she will
                             need additional medical attention and care in an amount now unknown.
                                                                          15.

                                       By reason of the injuries to the Plaintiff as above set forth, she has endured
                             severe physical, emotional and mental pain, suffering and inconvenience, and will
                             continue      to    endure physical, emotional and mental pain, suffering              and

                             inconvenience for a period of time now unknown.
                                                                          16.

                                       By reason of the iniuries to the Plaintiff sustained as above set forth, she has
                             sutfered permanent f acial disf igurement.
                                                                          17.

                                       The inluries sustained by the Plaintitf as above set forth, were solely and
                             proximately caused by the negligence of the Defendant, through its agent' servant
                             and employee, said negligence consisting of the following:

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 oLoEro Cis€Mro                        A). Her failure to properly measure and monitor the drilling of        tooth
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                                            number 7;
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                                  B). Her failure to prevent the inadvertent extrusion of bleach into the
                                  surrounding tissues; and

                                  C).   ln failing to use due care under the circumstances.


                                  WHEREFORE, Plaintiff, Mary M. Black, prays for Judgment in her favor and
                            against the Delendant, United States of America as follows:
                                  A). For such compensatory damages occasioned by the negligent
                                      conduct of Defendant as may be proved at the trial of this cause
                                      including pain and suffering, past and future medical expenses
                                        incurred and to be incurred, for permanent facial disfigurement and
                                        for the lose of enjoyment and quality of life; and

                                  B). For such other   and further relief as the Court deems proper.

                                                                         Respectf ully submitted,


                                                                         DILORETO, COSENTINO




                            Date: August 18,2017



                                                                            330 Lincoln Way East
                                                                            P.O. Box 866
                                                                            Chambersburg, PA17201
                                                                            (717) 264-2096




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